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5    Email: jonathan.simon@lane-nach.com
6    Attorneys for Jill H. Ford, Trustee

7                                 IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF ARIZONA
8
       In re:                                               (Chapter 7 Case)
9
       JOSE ARIEL FACIO,                                    No. 2:14-bk-07099-PS
10
                  Debtor.
11

12     JILL H. FORD, CHAPTER 7 TRUSTEE,
                                                            QUARTERLY REPORT
13                Movant/Judgment Creditor,                 SECOND QUARTER 2018
14                          vs.

15     JOSE ARIEL FACIO,

16                Debtor/Judgment Debtor.

17     LGS BARBER SHOP,

18                Garnishee.

19
            Instructions Creditor is required to complete this report and send it to the Judgment Debtor and
20   Garnishee within 21 days after the end of each quarter and when the balance due is less than double the
     amount of nonexempt earnings received in the last two pay periods. Creditor shall also issue a report
21   within 21 days after the balance is reduced to $500 or less, and, after that, before the 10th of each
22   month as long as the Order Continuing Lien is in effect.

23              1. This report covers the period from April, 2018 – June, 2018
                2. I received the following payments during this period:
24

25                                            Check Date        Amount
26                                            04.09.2018      $50.00

27                                            04.28.2018      $50.00
                                              05.14.2018      $50.00
28


 Case 2:14-bk-07099-PS             Doc 144 Filed 07/09/18 Entered 07/09/18 13:50:51          Desc
                                    Main Document     Page 1 of 2
 1
                                           05.29.2018       $50.00
 2
                                           06.22.2018       $50.00
 3                                         06.26.2018       $50.00
 4                                              TOTAL       $300.00
 5

 6           3. Judgment balance at beginning of period                                               $4,829.00

 7           4. Total credited to the judgment balance this period                                     $300.00

 8           6. Total outstanding balance on the judgment                                             $4,529.00
 9
             7. The following statements apply if checked:
10                  Balance due is $500 or less.
11                  Balance due is less than double the amount received in the last two pay periods.
                    Garnishee should stop withholding earnings.
12

13          RESPECTFULLY SUBMITTED this 9th day of July, 2018.

14                                        LANE & NACH, P.C.

15                                        By: /s/ Adam B. Nach- 013622
                                                  Adam B. Nach
16                                                Jonathan C. Simon
                                                  Attorneys for Trustee
17   COPY of the foregoing delivered
     via first class mail to:
18
     LGS BARBER SHOP                                      Jose Ariel Facio
19   Attn: Martha E. Garcida                              P.O. Box 8267
     1726 E. Southern Ave. #2                             Phoenix, AZ 850661
20   Tempe, AZ 85282                                      Debtor
21   Jose Ariel Facio2
     6238 S. 13th Place
22   Phoenix, AZ 85042
23
     By: /s/ Debbie McKernan
24

25

26
     1
27     This is the Debtor’s address listed on the Docket. However, mail continues to be returned as
     undeliverable.
28   2
       Upon information and belief, Debtor is receiving mail at this address.

 Case 2:14-bk-07099-PS                              2
                                Doc 144 Filed 07/09/18  Entered 07/09/18 13:50:51             Desc
                                 Main Document     Page 2 of 2
